         CASE 0:20-cr-00232-JRT-BRT Doc. 165 Filed 10/30/20 Page 1 of 2



                                  UNITED STATES DISTRICT COURT

                                     DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                    Criminal No. 18-305 (JRT/BRT)

WAYNE ROBERT DAHL, JR.,

             Defendant.
_________________________

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                    Criminal No. 20-232 (DSD/KMM)

RUSSELL JASON RAHM, et al,

             Defendants.
_________________________

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                    Criminal No. 20-233 (ADM/KMM)

CODY WAYNE TIMMERMAN, et al,

               Defendants.




                      AMENDED ORDER OF DIRECTION TO THE CLERK OF COURT
                            FOR REASSIGNMENT OF RELATED CASE


       Case No. 18-cr-305 (JRT/BRT) having been assigned to Judge John R. Tunheim and Case No. 20-
cr-232 (DSD/KMM) having later been assigned to Judge David S. Doty and Case No. 20-cr-233
          CASE 0:20-cr-00232-JRT-BRT Doc. 165 Filed 10/30/20 Page 2 of 2



(ADM/KMM) having later been assigned to Judge Ann D. Montgomery, and said matters being related
cases,


         IT IS HEREBY ORDERED that Case No. 20-cr-232 (DSD/KMM) and Case No. 20-cr-233
(ADM/KMM) be assigned to Judge John R. Tunheim, nunc pro tunc, by use of a card from the
appropriate deck in the automated case assignment system. The Clerk of Court is directed to reuse a
card from the same deck from which the original assignment was made pursuant to the Court’s
Assignment of Cases order filed January 10, 2020.


         IT IS FINALLY ORDERED that a copy of this order shall be filed in each of the above respective
files.



Dated: October 30, 2020                          s/John R. Tunheim
                                                 John R. Tunheim
                                                 Chief Judge
                                                 United States District Court

Dated: October 30, 2020                          s/David S. Doty
                                                 David S. Doty
                                                 United States District Court Judge

Dated: October 30, 2020                          s/Ann D. Montgomery
                                                 Ann D. Montgomery
                                                 United States District Court Judge
